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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 20-60192-CIV-SINGHAL/VALLE

  SHANE VILLARINO, et al.,

          Plaintiffs,                                                   Class and Collective Action
  v.

  PACESETTER PERSONNEL SERVICE, INC., et al.,

       Defendants.
  _________________________________________/

                                                      ORDER

          THIS CAUSE is before the Court upon Defendant’s Motion to Decertify Collective

  Action (DE [573]). The Court has reviewed the Motion, the opposing and supporting

  memoranda, the applicable law, and is otherwise fully advised. For the reasons set forth

  below, the Motion is denied.

  I.      INTRODUCTION

          The named Plaintiffs and nearly 300 opt-in Plaintiffs worked as temporary unskilled

  laborers through Defendant Pacesetter Personnel Service, Inc. 1 Pacesetter provides

  unskilled temporary labor to clients in various industries, including construction,

  entertainment, and healthcare. Persons seeking work report to Pacesetter’s office in the

  morning, receive a daily ticket containing the work assignment and mode of

  transportation, obtain the necessary tools and/or safety equipment, and report to the

  assigned work site. Workers without transportation are charged $3.00 per day to take

  Pacesetter’s vans or they may carpool with another worker. At the job site, the client’s



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   The Defendants operate under several names, but for purposes of this Order will be referred to collectively as
  “Pacesetter.”
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  supervisor or foreman assigns the days’ tasks and certifies the hours worked. At the end

  of the day, the workers return to Pacesetters’ office to receive their pay for the day and

  return the equipment. Plaintiffs are under no obligation to report to Pacesetter every day;

  it is entirely up to each individual whether he or she desires to seek work on any given

  day.

         On March 19, 2021, the Court conditionally certified two collective FLSA classes:

                All hourly-paid “daily ticket” general labor employees who
                have worked for Pacesetter’s Fort Lauderdale, Florida,
                location at any time within the three (3) year period from
                consenting to be included in this collective action.

                All hourly-paid “daily ticket” general labor employees who
                worked in excess of forty hours in a workweek in one or more
                workweeks at Pacesetter’s Fort Lauderdale, Florida, location
                at any time within the three (3) year period from consenting
                to be included in this collective action.

  (DE [256]). Pacesetter now moves to decertify the conditionally certified collective action.

  II.    LEGAL STANDARDS

         “To maintain a collective action under the FLSA, plaintiffs must demonstrate that

  they are similarly situated.” Anderson v. Cagle’s, Inc., 488 F.3d 945, 952 (11th Cir. 2007)

  (quotations omitted). Courts have adopted a two-stage process, with the conditional

  certification being made on pleadings and affidavits. Id. at 953. After discovery is largely

  completed, the court must make a factual determination on whether the plaintiffs are

  similarly situated. Id.; 29 U.S.C. § 216(b). If the plaintiffs are similarly situated, the

  representative action will proceed to trial. If they are not similarly situated, the class is

  decertified and the opt-in plaintiffs are dismissed without prejudice. Cameron-Grant v.

  Maxim Healthcare Servs., Inc., 347 F.3d 1240, 1243 (11th Cir. 2003).




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         At this stage, the court considers several factors: “(1) disparate factual and

  employment settings of the individual plaintiffs; (2) the various defenses available to

  defendant[s] [that] appear to be individual to each plaintiff; [and] (3) fairness and

  procedural considerations[.]” Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233, 1261

  (11th Cir. 2008) (citations omitted).     Although the potential class members are not

  required to “hold identical positions, the similarities necessary to maintain a collective

  action under § 216(b) must extend beyond the mere facts of job duties and pay provisions

  and encompass the defenses to some extent.” Id. at 1262 (quotations omitted). “But

  ultimately, whether a collective action is appropriate depends largely on the factual

  question of whether the plaintiff employees are similarly situated to one another.” Id.

  III.   DISCUSSION

         As stated, there are three relevant factors for the Court's determination of whether

  the opt–in plaintiffs are similarly situated: (1) disparate factual and employment settings

  of the individual plaintiffs; (2) the various defenses available to defendants that appear to

  be individual to each plaintiff; and (3) fairness and procedural considerations. The Court

  will consider each factor in turn.

         A. Disparate Factual and Employment Settings of Individual Plaintiffs

         The Court finds that the daily ticket workers are similarly situated. Defendants

  argue that Plaintiffs engage in job duties in various industries and are subjected to policies

  imposed by different supervisors. These differences are not, however, relevant to the

  issues in this case. Plaintiffs all have the same job title (daily ticket worker) and they all

  perform general unskilled labor. The fact that they worked at different job sites is

  immaterial because the policies and practices challenged by Plaintiffs apply to all daily



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  ticket workers regardless of the job site. See Romero v. Fla. Power & Light Co., 2012 WL

  12951718 at *3 (M.D. Fla. Feb. 22, 2012) (denying decertification where plaintiffs worked

  at more than 50 job sites but were subject to same policy of nonpayment for meal breaks).

          Plaintiffs contend three of Defendants’ policies violate the FLSA: (1) workers are

  not paid for the time accrued after they receive their daily work ticket; they are paid only

  for the time spent on the clients’ job sites; (2) workers are not paid for travel between

  Defendants’ location and the job site; and (3) workers who avail themselves of

  Defendants’ transportation options are charged $3.00 per day and Plaintiffs argue that

  this deduction reduces their wages below minimum wage. The policies at issue apply to

  all Plaintiffs.

          Defendants argue that the class members are not similarly situated because each

  Plaintiff’s employment situation varies significantly due to voluntary choices: whether to

  work on a particular day, whether to take company provided transportation; activities

  engaged in after receiving the daily ticket; and whether to return to Pacesetter at the end

  of the day. Defendants argue that these different choices establish that the Plaintiffs are

  not similarly situated.

          Although Defendants deny that travel and waiting time are compensable under the

  FLSA, resolution of those issues will not require the individualized, fact-specific analysis

  posited by Defendants. The issue to be decided is whether the workers’ waiting and travel

  time was “integral and indispensable to their regular work, even if those activities [did] not

  occur at the employee’s workstation.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442,

  447-48 (2016) (citations omitted). Plaintiffs all performed temporary unskilled labor and

  the policies at issue applied to all of them. The particulars of the labor they performed



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  play a miniscule role, if any, in resolving these issues.       Likewise, the variances in

  transportation do not appear as great as Defendants assert.

         For example, Plaintiffs have introduced testimony that workers travel to job sites

  by taking the Pacesetter van or carpooling with others. (DE [573] Ex. 7). Although some

  workers testified that they have taken their own cars on occasion (DE [536] Ex 5), there

  is no evidence of widespread individual travel to job sites. The bulk of the evidence in this

  record supports Plaintiffs’ contention that workers primarily carpooled or took the

  Pacesetter van. There are limited factual issues to decide. If workers are found to have

  waited at the office for a specific time for the benefit of Pacesetter, it matters little how

  they passed the time. Peterson v. Nelnet Diversified Sols., LLC, 400 F. Supp. 3d1122,

  1137 (D. Colo. 2019), rev’d and remanded on other grounds, 15 F.4th 1033 (10th Cir.

  2021). Alternatively, if the waiting time predominately served the interests of the workers

  because it afforded them transportation or gas money that they would not have otherwise

  had, those interests would apply on a collective basis. The record sufficiently establishes

  that the Plaintiffs are similarly situated.

         B.      The Various Defenses Available to Defendants that Appear to be Individual
                 to Each Plaintiff

         Defendants argue that the determination of whether waiting and travel time was

  compensable cannot be determined on a collective basis because the individual

  circumstances of each Plaintiff will need to be determined. As discussed above, the Court

  disagrees. Both the waiting and travel time and transportation charge issues can be

  resolved collectively, and Defendants have adequately argued that those activities are

  not compensable under the FLSA in their pending Motion for Summary Judgment.

  (DE [555]).

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         C.      Fairness and Procedural Considerations

         Pacesetter argues that the fairness and procedural considerations warrant

  decertification. The Court disagrees. As discussed above, the liability issues can be

  decided on a collective basis because (1) the Plaintiffs are similarly situated and (2) the

  non-payment for waiting and travel and the transportation charge policies were applied to

  all workers.

         Pacesetter argues that trying the case on a representative basis runs the risk of

  overcompensating some Plaintiffs and undercompensating others (assuming FLSA

  violations are found to have existed) and unfairly subjects Pacesetter to an all-or-nothing

  scenario, which led Judge Dimitrouleas to decertify the action in Mathis v. Darden

  Restaurants, 2014 WL 4428171 (S.D. Fla. Sept. 1, 2014). But the present case differs

  substantially from Mathis. There, the 20,255 opt-in plaintiffs worked in thousands of

  different restaurants around the country and worked under different policies that varied

  by restaurant and job title. Here, it is undisputed that the policies are the same for all the

  Plaintiffs who had the same job titles and worked out of one central location.

         The Eleventh Circuit has recognized that collective actions help satisfy the

  remedial nature of the FLSA by lowering costs to plaintiffs and promoting judicial

  efficiency. Morgan, 551 F.3d at 1254-65. Given that the Plaintiffs held identical positions

  and were all subject to the same policies, the Court finds that the benefits of a collective

  action serve these interests.

         One possible difficulty at trial is the determination of damages: Plaintiffs worked

  varying days, wait and travel times varied, and not every Plaintiff had transportation



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  charges deducted. Given that Pacesetter’s policies applied to all Plaintiffs, the Court is

  not convinced at this time that the evidence of damages will be unfair to Pacesetter.

  Plaintiffs state they plan to present, through expert testimony, a damages model based

  on Pacesetter’s own pay and time records. Without ruling or commenting on the

  sufficiency of this proposed model, the Court concludes that, at this juncture,

  decertification of the action is not warranted. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Defendant’s Motion to Decertify Collective

  Action (DE [548]) is DENIED.

         DONE AND ORDERED in Chambers in Fort Lauderdale, Florida, this 16th day of
  September 2022.




  Copies furnished counsel via CM/ECF




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